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                 EXHIBIT 1
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                      IN THE UNITED STATES COURT OF APPEALS

                               FOR THE ELEVENTH CIRCUIT
                                 ________________________

                                     No. 22-11150-GG
                                 ________________________

IRA KLEIMAN,
as the Personal Representative of the
Estate of David Kleiman,

                                                                             Plaintiff-Appellant,

W&K INFO DEFENSE RESEARCH, LLC,

                                                                                        Plaintiff,

                                             versus

CRAIG WRIGHT,

                                                                            Defendant-Appellee.
                                 ________________________

                          Appeal from the United States District Court
                              for the Southern District of Florida
                                ________________________

Before: JORDAN, JILL PRYOR, and GRANT, Circuit Judges.

BY THE COURT:

       Upon consideration of the affidavit of attorney Devin (Velvel) Freedman attesting that the

requirements of Rule 1.7(b) of the ABA Model Rules of Professional Conduct are satisfied, the

appellee’s motion to disqualify Roche Freedman LLP is DENIED.
